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IN THE: UNITED sTATEs DISTRICT cso\.g=_z,_';,;w _ ___._21.1‘;
FoR THE wEsTERN D:csTRIcT oF TENNESSEE / '
wEsTERN DIVISION USM\: ij 954 \: 06
‘."';;.-: _ _`~_iifl`““"‘€ll
UNITED STATES oF AMERICA, ) \.1?‘§%;"5;:";?§§_§,L€~J,-'§ihee!`e
Plaintiff, §
vs. § CR. NO. 04-20195~Ma
LEO BEARDEN, §
Defendant. §

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on April 21, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the caee.

The Court granted the request and continued the trial date to
the rotation docket beginning June 6, 2005 at 9:30 a.m., With a
report date of TueSday, May 31, 2005 at 2:00 p.m.

The period from April 21, 2005 through June l7, 2005 is
excludable under 18 U.S.C. § 3l6l(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

,7| ` day of May, 2005.

J%</M\

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

IT IS SO ORDERED this

 

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This notice confirms a copy of the document docketed as number 77 in
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Honorable Samuel Mays
US DISTRICT COURT

